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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                    Case No. 18-20533
v.                                         District Judge Victoria A. Roberts


MICHAEL HINDS,

         Defendant.
_________________________/
                   ORDER DENYING DEFENDANT’S MOTION TO
                     SUPPRESS OR DISMISS (ECF No. 112)

        Defendant Michael Hinds filed a Motion to Suppress Evidence or

Dismiss. He contends that officers violated his Fourth and Fourteenth

Amendment rights when they stopped and searched him because of his

race.

        Officers spotted Hinds’ smoke-filled minivan outside of an abandoned

house at midnight. They approached the van and observed Hinds rolling a

marijuana blunt and several vials of marijuana in the front console of the

vehicle. (ECF No.112, PageID.939).

        Hinds’ argument is the same as it was in his earlier motion to suppress

(ECF No. 23, PageID.62) and motion for reconsideration (ECF No. 63,

PageID.413). He argued then that his compliance with the Michigan Medical


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Marijuana Act (“MMMA”) as a medical marijuana card holder precluded a

finding of probable cause to search the van based on marijuana possession.

        In its Order Sustaining the Government’s Objections in Part; Rejecting

the Magistrate Judge’s Report and Recommendation and Denying

Defendant’s Motion to Suppress, the Court held: “[w]hether Hinds was in

compliance with the MMMA . . . has no bearing on whether probable cause

to execute the search existed under the Fourth Amendment.” (ECF No. 38,

PageID.239). In its Order Denying Defendant’s Motion For Reconsideration,

this Court found that under these circumstances and under federal law,

officers had probable cause to search Hinds’ vehicle. (ECF No. 67, PageID.

433).

        Now Hinds argues that officers selectively stopped and searched his

van because he is African American, and they had no probable cause. (ECF

No. 112, PagedID.932).

        Hinds proposes that exclusion of evidence or dismissal of the case is

an appropriate remedy for selective enforcement. In selective enforcement

cases “it is an absolute requirement that the plaintiff make at least a prima

facie showing that similarly situated persons outside [his] category were not

prosecuted.’” Gardenhire v. Shubert, 205 F.3d 303, 319 (6th Cir. 2000)

(quoting Stemler v. City of Florence, 126 F.3d 856, 873 (6th Cir.1997)).


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      While Hinds correctly cites to the law of selective enforcement and the

remedy of dismissal, he presents no evidence of selective enforcement in

this case.

      Hinds repackages the same issues already ruled on by the Court,

without labelling his motion as one for reconsideration. The Court DENIES

Hinds’ Motion to Suppress or Dismiss.

      IT IS ORDERED.
                                         s/ Victoria A. Roberts
                                         Victoria A. Roberts
                                         United States District Judge
Dated: September 14, 2021




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